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                       DOCKET COPY




Pro Hac Vice Receipt Copy


            Court Name: TEXAS WESTERN
            Division: 5
            Receipt Number: 500054681
            Cashier ID: dgarci
            Transaction Date: 06/24/2020
            Payer Name: RODRIGO CANTU

            PRO HAC VICE
             For: TOR EKELANO
             Case/Party: DTXW-5-20-LB-000000-001
             Amount:        $100.00

            PAPER CHECK
             Check/Money Order Hum: 120
             Amt Tendered:  $100.00

            Total Due:      $100.00
            Total Tendered: $100.00
            Change Amt:     $0.00

            PRO HAC VICE FOR TOR EKELAND.

            5:20CV-745. MELODY JOY CANTU AND
            DR. R0DRIGO CANTU V. DR. SANDRA
            GUERRA AND DIGITAL FORENSICS
            CORPORATION.
